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         EXHIBIT 137-B
    Redacted Version of
Document Sought to be Sealed
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From:                Falconer, Russ <RFalconer@gibsondunn.com>
Sent:                Tuesday, February 23, 2021 7:14 PM
To:                  David Ko; Lesley Weaver; Anne Davis; Matthew Montgomery; Derek Loeser; Cari Laufenberg
Cc:                  Stein, Deborah L.; Davis, Colin B.; Kutscher Clark, Martie; Mumm, Laura C.; Grant, Shaquille
Subject:             In re Facebook, Inc. Consumer Privacy User Profile Litigation
Attachments:         2012 - 2017 Revenue by Channel.pdf



Counsel:

In advance of tomorrow’s deposition, attached please find a PDF copy of an Excel workbook that other
Facebook employees provided to Ms. Lee to allow her to discharge her obligations under Rule 30(b)(6) on
topics of which she had limited or no independent personal knowledge. The workbook contains two sheets.
We have produced both sheets and, for clarity, added the name of each sheet to the footer of the PDF. We
have also added a confidentiality designation to the header

Thanks,
Russ


Russ Falconer

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Facebook Inc
Consolidated Revenue Streams




                                    Revenue by Channel
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                                    Revenue by Channel
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                                             Revenue Channel Definitions
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                                             Revenue Channel Definitions
